Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-3
                                     199-1       filed
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                                     199-1       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
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                             $1,275.00




                     TOTAL = $ 6,567.00
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
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                       -KLM Document     215-3
                                     199-1       filed
                                             Filed     10/03/11USDC
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                       -KLM Document     215-3
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
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Case
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
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Case
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
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                                     of 17
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     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-3Filed
                                     199-2       filed 10/03/11 USDC
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